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                     Exhibit C:

  IRS Request for Information #1

             (February 15, 2011)
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Xnternal Revenue Service               Department of the Treasury
P.O. Box 2508 - Room 4511
Cincinnati, Ohio 45201

Date: February 15, 2011
                                       Employer Xdentification NUmber:
                                         XX-XXXXXXX
                                       Person to Contact - Group #:
                                          Susan Maloney     7824
KSP/True the Vote                         ID# 0203218
C/0 Deren R Harrington JD CPA          Contact Telephone NUmbers:
2225 County Road 90, Ste 115             513-263-3649     Phone
Pearland, TX 77584                       513-263-3690     Fax
                                       Response Due Date:
                                         March 8, 2011
Dear Sir or Madam:

we need more information before we can complete our consideration of your
application for exemption. Please provide the information requested on the
enclosure by the response due date shown above. Your response must be signed
by an authorized person or an officer whose name is listed on your
application. Also, the information you submit should be accompanied by the
following declaration:

    Under penalties of perjury, I declare that I have examined this
    information, including accompanying documents, and, to the best of
    my knowledge and belief, the information contains all the relevant
    facts relating to the request for the information, and such facts
    are true, correct, and complete.

To facilitate processing of your application, please attach a copy of this
letter to your response. This will enable us to quickly and accurately
associate the additional documents with your case file.

If we do not hear from you within that time, we will assume you no longer
want us to consider your application for exemption and will close your case.
As a result, the Internal Revenue Service will treat you as a taxable entity.
If we receive the information after the response due date, we may ask you to
send us a new application.

In addition, if you do not respond to the information request by the due
date, we will conclude that you have not taken all reasonable steps to
complete your application for exemption. Under code section 7428(b) (2), you
must show that you have taken all the reasonable steps to obtain your
exemption letter under IRS procedures in a timely manner and exhausted your
administrative remedies before you can pursue a declaratory judgment.
Accordingly, if you fail to timely provide the information we need to enable
us to act on your application, you may lose your rights to a declaratory
judgment under Code section 7428.

If you have any questions, please contact the person whose name and telephone
number are shown in the heading of this letter.



                                                               Letter 1312 (TEDS)

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                                   Page 2
KSP/True the Vote
XX-XXXXXXX
                                               ly yours,



                                             !Au(/1~
                                        s s n Maloney
                                        E   pt Organizations Specialist

Enclosure:   Information Request




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    KSP/True the Vote
    XX-XXXXXXX
    Additional Information Requested:

1. In order to meet the organizational test for exemption under section
   501(c) (3)r your organizational document, Articles of Incorporation, must be
   amended to include the following provision:

    a.   Said organization is organized exclusively for charitable, religious,
         educational, and scientific purposes, including, for such purposes~ the
         making of distributions to organizations that qualify as exempt
         organizations under section 501(c) (3) of the Internal Revenue Code, or
         corresponding section of any future federal tax code.

    PLEASE SUBMIT A COMPLETE COPY OF THIS AMENDMENT. SINCE YOU ARE INCORPORATED
    IN THE STATE OF TEXAS, THE COPY YOU SUBMIT TO US MUST SHOW THAT IT HAS BEEN
    PROPERLY FILED WITH YOUR APPROPRIATE STATE AGENCY. WE CANNOT ACCEPT A COPY
    STAMPED "RECEIVED".

2. Your board is narrow and related. This could lead to substantial private
   benefit or inurement~ both of which are prohibited under 501(c) (3). In
   Better Business Bureau of Washington[ D.C., Inc. v. United States, 326 U.S.
   279 (1945), the Court held that the presence of a single non-exempt purpose,
   if substantial in nature, will destroy a claim for exemption regardless of
   the number or importance of truly exempt purposes.

  To insure that your organization will serve public interests and not the
  personal or private interests of a few individualsr unrelated individuals
  selected from the community you will serve should control your Board of
  Directors. Members of the Board should be selected from the following
  categories; (1) community leaders, such as elected or appointed officialsr
  members of the clergy[ educators~ civic leaders, or other such individuals
  representing a broad cross-section of the views and interests of your
  community, (2) individuals having special knowledge or expertise in your
  particular field or discipline in which your organization is operating[ (3)
  public officials acting in their capacities as suchr (4) individuals
  selected by public officials, and (5) individuals selected pursuant to your
  organizations governing instrument or bylaws by a broadly based membership.

  Therefore~  it is recommended that you modify your Board of Directors to place
  control in the hands of unrelated individuals selected from the community you
  will serve.

  Please submit the names and qualifications of the new board membersr as well
  as a statement signed by each that they will take an active part in your
  operation.

  If you are unwilling to do so, please explain your position.

3. The activities narrative submitted with your application statesr "KSP/True
   the Vote is a non-partisan initiative to recruit and train volunteers to
        inside polling places for elections. True the Vote initiatives are the




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   KSP/True the Vote
   XX-XXXXXXX

     •   Mobilizing and training volunteers who are willing to work as election
         monitors.
     •   Aggressively pursuing fraud reports to ensure prosecution when
         appropriate.
     •   Providing a support system for volunteers that includes live and online
         training, quick reference guides, a call bank to phone in problem
         reportss, information on videotaping at polling places, and security as
         necessary.
     •   Creating documentaries and instructional videos for use in recruiting
         and training.
     •   Raising awareness of the problem through strategic outreach efforts
         including advertising, social networking, media relations, and
         relational marketing.
     •   Voter registration programs and efforts to validate existing
         registration lists, including the use of pattern recognition software
         to detect problem areas."

 Please answer the following questions regarding your activities:

     a. Provide a job description of an election monitor. Do they go to the
        polls on election day? If so, where are they located at the polls?
        What do they do?
     b. How will the organization pursue fraud reports and ensure prosecution.
        Explain each step in detail. Who will do this?
     c. Explain videotaping at a polling place. Who will do this? What purpose
        will it serve? Explain in detail.
     d. How will the organization raise awareness through advertising, social
        networking, media relations and relational marketing? Provide examples
        and explain in detail.
     e. Why is pattern recognition software needed to detect problem areas?
        What problem areas? Explain in detail.
     f. Explain how voter registration fulfills an exempt purpose.
     g. What percentage of the organization's time and resources is devoted to
        each of the listed activities? The percentage, when applied, should
        total 100.
     h. Explain how each of your activities fulfill an exempt purpose.

4. Form 1023, Part V, page 4(enclosed) was answered with anN/A.      Please check
   the boxes yes or no and return to us.




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     KSP/True the Vote
     XX-XXXXXXX

           PLEASE DIRECT ALL CORRESPONDENCE REGARDING YOUR CASE TO:

          us Mail:                           Street Address:

          Internal Revenue Service           Internal Revenue Service
          Exempt Organizations               Exempt Organizations
          P. 0. Box 2508                     550 Main St/ Federal Bldg.
          Cincinnati/ OH 45201               Cincinnati/ OH 45202
          ATT: Susan Maloney                 ATT: Susan Maloney
               Room 4511                          Room 4511
               Group 7824                         Group 7824

Letter 1312 (Rev. 12/2007)




                                                                        Exhibit C, Page 5
